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                                                                                            ANGELA E. NOBLE
                                                                                           CLERK U.S. DIST. CT.
                                                                                           S. D. OF Fl.A. - MIAMI
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              Case No. 20-80052-CR-RUIZ/Reinhart(s)
                                          18 u.s.c. § 1347
                                          18 U.S.C. § 1035(a)(2)
                                          18 u.s.c. §2
                                          18 U.S.C. § 982(a)(7)

   UNITED STATES OF AMERICA,

   v.

   LAUREN ROSECAN,

                  Defendant.
   - - - - - - - - - - -I
                                  SUPERSEDING INDICTMENT

          The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

          At all times material to this Superseding Indictment:

                                          Medicare Program

          1.      The Medicare program ("Medicare") is a federal health care program providing

   benefits to persons who are over the age of sixty-five or disabled.

          2.      Medicare is a "health care benefit program," as defined by Title 18, United States

   Code, Section 24(b ). Individuals who receive benefits under Medicare are referred to as Medicare

   "beneficiaries."

          3.      "Part B" of the Medicare program is a medical insurance plan that pays Medicare

   providers and suppliers, with the exception of inpatient healthcare facilities, directly for covered

   goods and services.
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           4.      "Part C" of the Medicare program allows Medicare beneficiaries to receive covered

    benefits through private health insurance companies, rather than directly through Medicare itself.

    These health care benefit programs follow the Medicare rules and regulations in determining

    coverage and payment for medical services rendered to beneficiaries.

           5.      In addition to Medicare Part B and Part C health care plans, beneficiaries may also

    obtain "supplemental" plans from private health insurance companies, which cover the

    beneficiaries' co-pay obligations under Medicare. All of these plans follow Medicare rules and

    regulations as well.

           6.      Medicare is administered by the United States Department of Health and Human

    Services ("HHS") through its agency, the Centers for Medicare and Medicaid Services ("CMS").

    CMS contracts with regional fiscal intermediaries, also known as Medicare administrative

    contractors ("MACs"), to receive, adjudicate, and pay Medicare claims submitted by Medicare

   providers. First Coast Service Options, Inc. ("First Coast") serves as the MAC in the State of

   -Florida.

           7.      Medical clinics or doctors who seek to be reimbursed for medical services provided

   to Medicare beneficiaries must first apply for and receive a Medicare "provider number." In

   signing a' provider agreement, the provider agrees to abide by the Medicare laws, regulations, and

   program instructions. Among these obligations is the requirement that the provider submit claims

   only for reasonable and necessary medical services. In submitting a claim, the provider must set

   forth, amongotherthings, the beneficiary's name and Medicare number, the services provided, the

   diagnosis justifying the services, the date the services were provided, the cost of the services, and

   the name and provider number of the physician or other health care provider who ordered the

   services.




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            8.     To aid in the processing and adjudication of claims, Medicare providers are

    required to use standardized codes to describe the pertinentdiagnosesand the procedures for which

    payment is being sought. With respect to diagnoses, providers are required to use the codes

    established in the International Classification of Diseases Manual ("ICD Codes"). ICD Codes

    relevant to this Superseding Indictment, include, but are not limited to, the following: 1906, C6930,

    C693 l and C6932, all related to a diagnosis of a malignant neoplasm of the choroid, i.e. choroidal

    melanoma; and 2240 and 2246, related to diagnosis of a benign neoplasm, i.e. a nevus.

           9.      The Health Care Financing Administration Common Procedural Coding System

    ("HCPCS") is the coding system used by Medicare to identify every task, seryice, or procedure a

    medical practitioner may provide to a patient, including medical, surgical, and diagnostic services.

    The HCPCS is based upon the Physicians' Current Procedural Terminology code book ("CPT

    Code") developed by the American Medical Association. On their claims for payment, medical

    providers state the HCPCS/CPT Codes (hereinafter referred to as "CPT Codes") that identify 1he

    types of services for which Medicare is being charged. These codes are used to determine

    reimbursement. For any claim to be payable, the procedure performed must be reasonable and

    necessary for the particular diagnosis. In other words, the diagnosis, as reflected in the ICD code,

    must support the medical necessity of the particular procedure performed. CPT Codes, their

    Medicare definitions and common descriptions relevant to this Superseding Indictment include,

    but are not limited to, the following:

        CPT Code                 Medicare Definition                    Common DescriQtion

                       Laser destruction of retinal growth, I or    Focal laser photo coagulation
           67210
                       more sessions                                ofretina
                       Destruction of vascular growth between       Focal laser photocoagulation
           67220
                       retina and the sclera, I or more sessions    of choroid
                       Laser destruction of leaking retinal         Pan Retinal Photocoagulation
           67228
                       blood vessels, I or more sessions            ("PRP") of retina
           76510       Ultrasound of eye tissue and structures      A andB-Scan


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        CPT Code                 Medicare Definition                     Common Descrintion

                       Ultrasound of eye disease, growth or
           76512                                                    B-Scan
                       structure

           10.     In addition to the basic CPT Codes, there are a number of"modifiers"that are two-

    digit or two-letter supplements that provide additional information about the procedure. For

    example, in ophthalmology, the provider must specify the eye upon which a procedure has been

    performed. For some procedures, the modifier "50" is used to indicate that the procedure was

    bilateral, i.e., performed on both eyes. For other procedures, the suffix RT or LT is used to indicate

   that the procedure was performed on the right eye or left eye, respectively.

           11.     Under the laws that regulate the Medicare program, no payment may be made for

    any expenses incurred for items or services that are not reasonable and necessary for the diagnosis

    or treatment of illness or injury. In general, Medicare makes the physician the "gatekeeper" for

   determining when medical testing and treatment are medically reasonable and necessary. To

   receive reimbursement, providers are obligated to follow all Medicare rules and regulations.

           12.     Medicare permits claims to be submitted electronically. To do so, a provider must

   enroll in electronic billing through the MAC. By submitting an enrollment form, a provider agrees

   that all claims will be accurate, complete, and truthful. Further, the provider's unique identification

   number affixed to a claim constitutes a lawful electronic signature verifying that the services are

   medically reasonable and necessary and were performed as billed. In order to timely process the

   many millions of claims generated annually in the Medicare program, Medicare relies upon the

   honesty and integrity of providers who certify the validity of their claims.




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                                               The Defendant

           13.     The defendant, LAUREN ROSECAN, operated medical clinics under the name

    The Retina Institute of Florida ("RIF"). The defendant had several office locations in Palm Beach,

    Martin, and Port St. Lucie Counties in the Southern District of Florida.

           14.     The defendant was an ophthalmologist and retina specialist licensed to practice

    medicine in the State of Florida. As a retina specialist, the defendant treated conditions and

    diseases of the retina. At all times material to this Superseding Indictment, the defendant was 1he

    only licensed physician practicing at RIF.

           15.     The defendant was an approved Medicare service provider. A substantial portion

    of his client base was composed of elderly patients who were Medicare beneficiaries.

                                          Choroidal Melanoma

           16.     Choroidal melanoma (hereinafter referred to as "CM") is a malignant cancer or

   tumor of the eye originating in the choroid, which is a vascular layer of tissue located behind 1he

   retina. CM is a very rare form of cancer, being diagnosed in approximately five personspermillion

   per year in the United States. There are highly trained ophthalmologists, known as ocular

   oncologists, who specialize in cancers of the eye.

           17.    There are several treatment options for CM, ranging from observation (for small

   tumors), to radiation (medium-sized tumors), to enucleation or removal of the eye. The most

   successful treatment in the past decade has been radiation, which, for small and medium-sized

   tumors, has had a non recurrence rate of approximately 9 5 %.

           18.    Laser treatments have also been used to treat small CM tumors, the most common

   being transpupillary thermotherapy ("TIT"). TTT involves the use of a diode laser to slowly heat

   the tumor, thus killing the cancer cells.




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            19.     Focal laser photocoagulation ("focal laser") consists of shining a high-intensi1y

    laser light beam into the eye under magnification in order to bum, or cauterize, actively leaking

    blood vessels. Focal laser has also been used in the past to treat CM, but has largely been

    abandoned in favor of more successful treatments, in particular, radiation.

           20.     Pan retinal photocoagulation ("PRP") is a laser treatment used to treat people who

    have developed new abnormal blood vessels at the back ·of the eye in the retina, generally in

    patients with diabetic retinopathy. It is not a recognized treatment for CM. In PRP the laser is

    applied in a scatter pattern over a wide area of the retina. Medicare reimburses a doctor for the

    performance of PRP at a higher rate than that of focal laser.

                                             Choroidal Nevus

           21.     A choroidal nevus is a benign lesion or growth located in the back of the eye. It is

    sometimes referred to as an eye freckle and is relatively common in Caucasians, occurring in about

    5-8% of that population. A nevus can generally be differentiated from a melanoma based on its

    size (1 mm or less in thickness), color, and other distinguishing features. It has no effect on vision,

    and no treatment of a nevus is medically indicated.

                                            Diagnostic Testing

           22.     Ultrasonography (A-scans and B-scans) is an essential tool in the diagnosis and

   treatment of CM. Ultrasonography is a diagnostic imaging procedure that uses sound waves to

    capture images of the inside and back of the eye. In addition to being used to assess the internal

    structure of the eye when the physician's view into the eye is otherwise obscured, an ultrasound

    may also be used to measure the height and reflectivity of tumors in the back of the eye.

    Consequently, ultrasound is used to capture and document the presence and size of a CM.




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           23.     Fundus photography is routinely utilized by ophthalmologists for diagnosis and

    documentation of a variety of retinal diseases and conditions. The interior of the eye, known as fue

    fund us, may be photo graphed with a specialized camera that is attached to a low-power microscope.

    A fund us photograph captures the same view of the retina as would be seen by a doctor upon visual

    examination of the eye through a magnification device called an ophthalmoscope. Fundus

    photographs may be taken in color or without color. The photographs that are not in color are

    referred to as "red free" photographs. Fundus photography is used to capture and document the

    presence of an abnormality such as CM.

           24.     Fluorescein angiography ("FA") and indocyanine green angiography ("ICG") also

    capture abnormalities in the retina and choroid. These tests begin with the intravenous

    administration of certain dyes into a vein in the patient's arm, following which pictures are taken

    of the retina and choroid through special filters on the fundus camera. FAs and ICGs are used to

    capture and documentthe presence ofan abnormality such as a CM.

                                             COUNTSl-14
                                           Health Care Fraud
                                           (18 u.s.c. § 1347)

           25.     Paragraphs 1 through 24 of the General Allegations section of this Superseding

    Indictment are realleged and incorporated by reference as though fully set forth herein.

           26.     Beginning at least as early as 2012, the exact date being unknown to the grandjuiy,

    and continuing at least to and through December 31, 2015, in Palm Beach, Martin, and St. Lucie

   · Counties, in the Southern District of Florida, and elsewhere, the defendant,

                                         LAUREN ROSECAN,

    in connection with the delivery of and payment for health care benefits, items, and services, did

    knowingly and willfully execute, andattemptto execute, a scheme and artificeto defraud Medicare

    and other health care benefit programs affecting commerce, as defined by Title 18, United States


                                                     7
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    Code, Section 24(b), and to obtain, by means of materially false and fraudulent pretenses,

    representations, and promises, money and property owned by and under the custody and control

    of Medicare and other health care benefit programs.

                            Purpose and Object of the Scheme and Artifice

              27.   It was the purpose and object of the scheme and artifice for the defendant,

    LAUREN ROSECAN, to unlawfully enrich himself by, among other things, falsely diagnosing

    patients with choroidal melanoma ("CM"); performing medically unreasonable and unnecessaiy

    diagnostic tests and procedures; making false entries in patients' medical charts; and submitting

    claims to Medicare and other health care benefit programs based upon said false diagnoses,

    treatments and entries in patient medical charts.

                                        The Scheme and Artifice

              28.   The manner and means by which the defendant sought to accomplish the purpose

    and object of the scheme and artifice to defraud included, among other things, the following:

              a)    The defendant would falsely diagnose a substantial number of his Medicare patients

    with CM, either upon the initial patient visit, or in a subsequent visit. In many instances, the

    defendant would diagnose the condition bilaterally, that is, in both of the patient's eyes. In other

    instances, the defendant would diagnose the condition in both husband and wife of a married

    couple.

              b)    The defendant would take ultrasounds (A and B-Scans) of patients' eyes and would

    then place markers on the images, purportedly to measure mid to large sized tumors, when, in fact,

    no such tumors were present.

           c)       The defendant would perform laser treatments on said patients, primarily pan

    retinal photo coagulation, which has never been a recognized treatment for CM.




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           d)     The defendant would not refer said patients to an ocular oncologist or even another

    ophthalmologist in order to provide a second opinion. To the contrary, the defendant actively

    discouraged patients from obtaining a second opinion.

           e)     The defendant would cause patients to return to his clinic on a regular basis for

    followup visits, which, in some instances, involved repeated laser photocoagulation sessions.

           f)     The defendant would cause patient files to contain false information, including false

    diagnoses, measurements, drawings, and diagrams.

           g)     The defendant would cause the submission of claims to Medicare for exams,

   diagnostic tests, and laser treatments based upon the false diagnoses and medically unnecessary

   and medically unreasonable treatments for CM.

                                Execution of the Scheme and Artifice

           29.    In execution of the scheme and artifice to defraud, in Palm Beach, Martin, and St.

   Lucie Counties, in the Southern District of Florida, and elsewhere, the defendant,

                                        LAUREN ROSECAN,

   in connection with the delivery of and payment for health care benefits, items, and services, did

   knowingly and willfully execute, and attempt to execute, the above-described scheme and artifice

   to defraud a health care benefit program affecting commerce, as defined in Title 18, United States

   Code, Section 24(b ), and to obtain, by means of materially false and fraudulent pretenses,

   representations, and promises, money and property owned by, and under the custody and control

   of, said health care benefit program, in that the defendant did submit and cause the submission of

   claims to Medicare under diagnostic code 1906 (choroidalmelanoma) for the below-listed patients,

   among others, on or about the dates as further described below:




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COUNT   PATIENT       DATE OF      DATE OF       PROCEDURE CODE AND DESCRIPTION                   AMOUNT
                      SERVICE       CLAIM                                                          BILLED

                                                  67228-     Destruction ofleaking retinal blood
  1     BenjaminF.     4/14/15       4/20/15                                                     $1,930
                                                 RT          vessels [PRP]

                                                  67228-     Destruction ofleaking retinal blood
  2     BenjaminF.     4/21/15       4/22/15                                                     $1,930
                                                 LT          vessels [PRP]

                                                 67228-      Destruction of leaking retinal blood
  3     DorothyR.      4/15/15       4/20/15                                                      $1,930
                                                 RT          vessels [PRP]


                                                 67228-      Destruction of leaking retinal blood
  4     DorothyR.      4/17/15       4/22/15                                                      $1,930
                                                 RT          vessels [PRP]

                                                 67228-      Destruction of leaking retinal blood
  5     BarbaraF.      4/13/15       4/20/15                                                      $1,930
                                                 RT          vessels [PRP]

                                                 67228-      Destruction ofleaking retinal blood
  6     AnnaP.          5/4/15        5/5/15                                                     $1,930
                                                 LT          vessels [PRP]

                                                 67228-      Destruction ofleaking retinal blood
  7     AnnaP.         5/18/15       5/19/15                                                     $1,930
                                                 RT          vessels [PRP]

                                                 67228-      Destruction of leaking retinal blood
  8     RichardL.       6/5/15        6/9/15                                                      $1,930
                                                 LT          vessels [PRP]
                                                 67228-      Destruction of leaking retinal blood
  9     RichardL.      6/12/15       6/22/15                                                      $1,930
                                                 RT          vessels [PRP]
                                                 67228-      Destruction ofleaking retinal blood
 10     ThelmaF.       6/11/15       6/12/15                                                     $1,930
                                                 RT          vessels [PRP]

                                                 67228-      Destruction of leaking retinal blood
 11     WilmaM.        8/17/15       8/20/15                                                      $1,930
                                                 LT          vessels [PRP]

                                                 67228-      Destruction of leaking retinal blood
 12     WilmaM.        8/19/15       8/24/15                                                      $1,930
                                                 RT          vessels [PRP]

                                                 67228-      Destruction ofleaking retinal blood
 13     FredM.         8/17/15       8/20/15                                                     $1,930
                                                 RT          vessels [PRP]

                                                 67228-      Destruction ofleaking retinal blood
 14     FredM.         8/19/15       8/24/15                                                     $1,930
                                                 LT          vessels [PRP]


           All in violation of Title 18, United States Code, Sections 1347 and 2.




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                                             COUNTS 15-22
                                False Statements Relating to Health Care
                                     (18 U.S.C. §§ 1035(a)(2) and 2)

             3 0.   Paragraphs 1 through 24 of the General Allegations section of this Superseding

    Indictment are realleged and incorporated by reference as though fully set forth herein.

             31.    On or about the dates set forth below as to each count, in Palm Beach, Martin, and

    St. Lucie Counties, in the Southern District of Florida, the defendant,

                                          LAUREN ROSECAN,

    in a matter involving a health care benefit program, to wit, Medicare, did knowingly and willfully

    make and use a materially false writing and document knowing the same to contain a materially

    false, fictitious, and fraudulent statement and entry, in connection with the delivery of and payment

    for health care benefits, items, and services, in that the defendant would make and cause to be

    made false entries into the charts of Medicare patients, that is, false measurements of purported

    choroidal melanoma, as well as false diagnoses and fictitious retinal drawings, as further set forth

    below:

                               Count         Patient        Date of Service
                                15         BeniaminF.          4/14/15
                                16         Dorothy R.          4/15/15
                                17         BarbaraF.           4/13/15
                                18           AnnaP.             5/4/15
                                19         Richard L.           6/5/15
                                20          ThelmaF.           6/11/15
                                21          WilmaM.            8/17/15
                                22           Fred M.           8/17/15

             All in violation of Title 18, United States Code, Sections 1035(a)(2) and 2.




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                                    FORFEITURE ALLEGATIONS

           1.      The allegations of this Superseding Indictment are hereby re-alleged and by this

    reference fully incorporated herein for the purpose of alleging forfeiture to the United States of

    America of certain property in which the defendant, LAUREN ROSECAN, has an interest.

           2.      Upon conviction of a violationofTitle 18, United States Code, Sections 1035(aX2)

    or 134 7, as alleged in this Superseding Indictment, the defendant shall forfeit to the United States

    all property, real or personal, that constitutes or is derived, directly or indirectly, from gross

    proceeds traceable to the commission of such offense, pursuant to Title 18, United States Code,

    Section 982(a)(7).

           All pursuant to Title 18, United States Code § 982(a)(7), and the procedures set forth in

    Title 21, United States Code, Section 853, as incorporated by Title 18, United States Code, Section

    982(b)(l).

                                                                 A TRUE BILL




                                                                 FORE~



    ARIA   FAJARDO ORSHAN
    UNITED STATES ATTORNEY




    ALEXANDRA CHASE
    ASSISTANT UNITED STATES ATTORNEY




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                                                        LiNITEilSTATES DiSTRICT COURT
                                                       SOUTHERN DISTRICT OF FLORIDA

 UNITED. STA tES OF AMER.IC,\                                       CASE NQ.. 20c80052~CR-RUIZ/Reiiihart(s)
   Y,
 LAUREN RQSECAN,                                                    CERTIFICATE OF TRIAL ATTORNEY~

                                                                    Sup,ersecl!ng Case Information:
                                       befcndan·t.

 Co~rl Division: (S~le~t One)      .                                New d~feridant(s) •           Yes
 _·     Ntiami _             .Key West                              Number ofne,v defendants
   -    FTL       ·,,         WP.B                   FTP            Total nurnber ofcqurtts

          I.         i ·hav.e car¢fuHy consjdered the allegiltio11s of the indictment, the number ofdeft;:ndants, t!ie nt1mber of'
                     probable whne$ses and the legai complexities of the lndidment/Infonnation anachedhercto.
         2,          I a.in aware thi,i:t .the infonnation ·~tippli~cl on this st!iterncni will be reli~(l upon by the juages tjf this
                    ,Court in setting their calendars and scheduling criminal trials under the mandate -of (he Speedy tdal
                     Act; Title 28 U.S.C. Section 3161.                                                                    · ·
         3.          h1terpreter:            {Y~s or ;t-.Jo)   No
                    ;J)st langua~e and/qr dialect
         4.          This case will take ..20 clays.for the parties to try.
         5.          P!~ase ched, appropriate category ;ind f)'pe ofoffense listed belo,v,

                    (l'.,1,cck only·one)                                   (Check only one)


         I          Oto 5 days                                             Petty
         II         6 to 10 days                                           Minor
         Ill        ,JI   to 20 gays                       ✓
                                                                           Misdem,
         IV         21 to 60days                                           Felony                .I
         V          61 qays and over
         6.           Has this case previousiy been file1fin this District ~oµrt?       (Yes or No)  Yes
             ifyesdudge Ruiz                  ·                 Case No. 2Q~80052-CR~Rl:JIZ/Reinhari
             (Attach copy of dispositive order)                            ·          ·
             Has a complainfbeen fiiec,i in tl1i:s matter?      (Yes or No)       _N_o__
             If yes: MMistrate C<JSe Ne>;
             R.efr.1ted .mis_cel ianeous numbers:
             Defondant(s) in feder.al custody as of
             Defenc,iant(s) in ~t~te custody ·;is of
             Rtile ~O fr9m the District of
              i~tijis a potential death penalty case? (Yes or.No)
         1.         bo~s this case ·ofig11_111te froni a matter pending in th~ Centr~I Region of the    tJ.s. Attorney's Office
                    prio~'.to August 9, 2013 (Mag. Judg~ Alicia Q. Vall~)? .             Y~s.                N~ . "

         8.         Poes this .c~e originate from a riiatter p~hding in the N<>rtherh Regiori of the U.S. Attorney's Offict!
                    prior to A Ligtist 8, 2014 {Mag. j udg~ Shan(ek Maynard)?          Yes              'Nd. "
         9,         Opes .thJs case od_gina!~ fro0 a 111at_ter pending jn the,.Centra! Regi~n of. the \LS.   ?,.tt.orney'~ Qffi_ce
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                                                                            ALEX              RAC ASE    ~
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

    Defendant's Name: Lauren Rosecan

    Case No: 20-800052-CR-RUIZ/Reinhart(s)

    Counts #1-14:

    Health Care Fraud

    Title 18 United States Code Section 1347

    *Max. Penalty: Ten years' imprisonment: $250,000 fine or twice the value of the gross gain or
    loss, whichever is greater: three years' supervised release: restitution: criminal forfeiture: and a
    $100 special assessment

    Counts #15-22:

    False Statements Relating to Health Care

    Title 18, United States Code, Sections 1035(a)(2) and 2

    *Max. Penalty: Five years' imprisonment: $250,000 fine or twice the value of the gross gain or
    loss, whichever is greater: three years' supervised release: restitution: criminal forfeiture: and a
    $100 special assessment
